 Case 3:17-cv-00986-BAS-AGS Document 209 Filed 01/29/21 PageID.9777 Page 1 of 1




                           United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


John McCurley, individually and on
behalf of all others similarly situated;                   Civil Action No. 17-cv-00986-BAS-AGS
Dan Deforest, individually and on behalf
of all others similarly situated
                                             Plaintiff,
                                      V.
Royal Seas Cruises, Inc.                                     JUDGMENT IN A CIVIL CASE


                                           Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
the Court GRANTS Defendant's Amended Motion for Summary Judgment (ECF No. 165) and
DENIES Plaintiff's Motion for Summary Judgment (ECF No. 160). In light of this decision, the Court
finds the remaining motions (ECF Nos. 151, 159, 163 and 164) are all MOOT. Judgment in favor of
Defendant and against Plaintiffs. The case is hereby closed.




Date:          1/29/21                                        CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ J. Olsen
                                                                                      J. Olsen, Deputy
